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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

 KERSTIN SHINN                                                              CIVIL ACTION
 VERSUS                                                                     NO:        10-2890
 OCHSNER HEALTH SYSTEM                                                      SECTION: "B"(4)

                               REPORT AND RECOMMENDATION

       Before the Court is a Motion to Strike Affirmative Defenses (R. Doc. 10) filed by the

Plaintiff, Kerstin Shinn, seeking an Order from this Court striking affirmative defenses contained

in the Defendant’s, Ochsner Community Hospitals (“Ochsner”), answer pursuant to Rule 12(f) of

the Federal Rules of Civil Procedure. Ochsner opposes the motion. (R. Doc. 12.) The motion was

referred to the undersigned United States Magistrate Judge pursuant to 28 U.S.C. § 636(b) and Local

Rule 73.1E(A) for the submission of proposed findings and recommendations. The motion was

heard with oral argument on Wednesday, November 17, 2010.

I.     Background

       The Plaintiff brings the present action pursuant to the Americans with Disabilities Act, 42

U.S.C. § 12101, et seq. The Plaintiff alleges that in 2007, she injured her knee1 at work which

necessitated several surgeries and restrictions. At the time, she was an employee of the Defendant,

Ochsner Health System, an entity providing healthcare services within the state of Louisiana. (R.

Doc. 4, ¶ 1.) Plaintiff contends that up until her injury, she performed her work to the satisfaction

of her employer. (R. Doc. 4, ¶ 4.) Plaintiff contends that her first surgery was performed on July



       1
        Shinn’s Complaint does not detail how she injured her knee, or what type of injury her knee sustained.
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18, 2007, and although Ochsner received documentation regarding her physical limitations and work

restrictions, no reasonable accommodations were provided. (R. Doc. 4, ¶ 5.)

       On November 9, 2007, the Plaintiff had a second surgery.2 Subsequently, the Plaintiff

provided Ochsner with a status report regarding the injury which indicated that a third surgery would

likely be necessary. (R. Doc. 4, ¶ 6,) Plaintiff contends that at this point, it was “apparent” that

Shinn’s continued treatment would cause a long term impact on her major life activity of walking,

and therefore Shinn was an individual with a disability. (R. Doc. 1, ¶ 6.) Shinn contends that she

provided a status report regarding her condition to Frank Urbeso, her supervisor, by fax on February

13, 2008. (R. Doc. 4, ¶ 7.) Shinn also states that she contacted Urbeso to request a conference about

accommodations and returning to work. (R. Doc. 4, ¶ 8.) She states that as of February 13, 2008,

she had not exhausted her medical leave nor requested additional leave.

       On February 15, 2008, however, Shinn alleges that she was contacted by Mr. Urbeso who

informed her that there would no longer be a conference regarding her accommodations because she

had been terminated. Mr. Urbeso informed the Plaintiff that she was being terminated because she

had exhausted her leave. (R. Doc. 4, ¶ 9.) Plaintiff alleges that she was fired for the pre-textual

reason that she exhausted her leave under the Family and Medical Leave Act. (R. Doc. 4, ¶ 10.)

       Shinn contends that on August 29, 2008, she filed her charge of discrimination with the

Equal Employment Opportunity Commission (“EEOC”). Her charge was investigated and the

EEOC made a determination finding cause on May 11, 2009. On June 3, 2010, the Plaintiff received

a Notice of Right to Sue from the EEOC. (R. Doc. 4, ¶ 13.)

       Plaintiff alleges damages under the Americans with Disabilities Act and the Louisiana



       2
        The types of surgeries Shinn had were not disclosed to the Court.
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Employment Discrimination Law and seeks damages including loss of income, punitive damages,

general pain and suffering, reinstatement or front pay, and reasonable fees and costs associated with

the present action. (R. Doc. 1, ¶ 10.)

       As to the present motion, Ochsner filed their Answer on October 27, 2010, alleging eleven

(11) affirmative defenses. (R. Doc. 4.) Plaintiff contests several of Ochsner’s affirmative defenses

contained in the answer because she asserts that there are no grounds for the defenses, and therefore

Plaintiff has not been properly put on notice pursuant to the Federal Rules of Civil Procedure. (R.

Doc. 10-2, p. 2.) Ochsner contests the present motion, and states that they have sufficiently met the

“notice pleadings” standard utilized in Federal Courts.

II.    Standard of Review

       Federal Rule of Civil Procedure 12(f) permits a court to “strike from a pleading an

insufficient defense or any redundant, immaterial, impertinent, or scandalous matter.” A defense

may be insufficient as a matter of pleading or a matter of law. Security People, Inc. v. Classic

Woodworking, LLC, No. C-04-3133, 2005 WL 645592, at *2 (N.D. Cal.2005). “The key to

determining the sufficiency of pleading an affirmative defense is whether it gives plaintiff fair notice

of the defense.” Wyshak v. City Nat. Bank, 607 F.2d 824, 827 (9th Cir.1979). What constitutes fair

notice depends on the particular defense in question. 5C Charles Alan Wright & Arthur R. Miller,

Federal Practice and Procedure § 1381, at 410 (3d ed.2004). While a defense need not include

extensive factual allegations in order to give fair notice, bare statements reciting mere legal

conclusions may not be sufficient. Because motions to strike a defense as insufficient are

disfavored, they “will not be granted if the insufficiency of the defense is not clearly apparent.” 5C

Wright & Miller § 1381, at 428; accord William Z. Salcer, Panfeld, Edelman v. Envicon Equities

Corp., 744 F.2d 935, 939 (2d Cir.1984), vacated on other grounds, 478 U.S. 1015, 106 S.Ct. 3324,
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92 L.Ed.2d 731 (1986).

        A court may also strike matter in an answer that is immaterial or impertinent. Fed. R. Civ.

P. 12(f). Immaterial matter is “that which has no essential or important relationship to the claim for

relief or the defenses being pleaded.” Charles A. Wright & Arthur R. Miller, Federal Practice and

Procedure § 1382, at 706-07 (1990). Impertinent matter does not pertain, and is not necessary, to

the issues in question. Id.

III.    Analysis

        The Plaintiff seeks to have the following affirmative defenses stricken: (1) Plaintiff failed

to mitigate her damages;(2) Ochsner made a “good faith effort” to prevent retaliation,

discrimination, and harassment in the workplace”; (3) Plaintiff’s damages are subject to limitation

and caps; (4) Plaintiff’s claims were not made the subject of a “charge” and are time barred; (5)

Plaintiff’s claims are barred where they exceed the scope of charges filed with the Louisiana

Commission on Human Rights and Equal Employment Opportunity Commission; (6) Ochsner’s

claim for limitation of recovery on any future discovered after-acquired evidence; (7) Plaintiff is not

a qualified individual with a disability and did not request a reasonable accommodation; and (8)

Ochsner claims that it would have taken the same challenged action in the absence of any

impermissible motivating factor. (R. Doc. 10-2, pp. 1-2.)

        Plaintiff claims that Ochsner has failed to articulate any bases for their defenses, and that the

Plaintiff is unable to “glean” anything from the answer. (R. Doc. 10-2, p. 2.) Plaintiff contends that

under Rule 8 of the Federal Rules of Civil Procedure, notice in pleadings is required, and facts,

elements of causes of action, and legal theories are insufficient to put a party on notice. Id. Plaintiff

contends that the affirmative defenses raised are nothing more than categorized legal theories with

implied elements. (R. Doc. 10-2, p. 3.) Therefore, Plaintiff seeks to have the defenses stricken.
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       Defendant contends that the Plaintiff has not alleged that the challenged affirmative defenses

would be prejudicial to her, nor that the challenged defenses are insufficient as a matter of law. (R.

Doc. 12, p. 3.) Instead, Plaintiff’s complaint is that she has not been properly put on notice as to the

affirmative defenses that Defendant wishes to assert. Id. Defendant contends that, contrary to

Plaintiff’s assertions, Defendant has complied with the “notice pleading” requirements of Rule 8.

       “‘The Federal Rules of Civil Procedure provide the manner and time in which defenses are

raised and when waiver occurs.’” Arismendez v. Nightingale Home Health Care, Inc., 493 F.3d 602,

610 (5th Cir.2007) (quoting Morgan Guar. Trust Co. of New York v. Blum, 649 F.2d 342, 344 (5th

Cir. Unit B 1981)). As the Fifth Circuit explained in Arismendez, “Rule 8(c) of the Federal Rules

of Civil Procedure ‘requires that an affirmative defense be set forth in a defendant's responsive

pleading. Failure to comply with this rule, usually results in a waiver.’” 493 F.3d at 610 (quoting

Lucas, 807 F.2d at 417). “[A] defendant should not be permitted to ‘lie behind a log’ and ambush

a plaintiff with an unexpected defense.” Rogers v. McDorman 521 F.3d 381, 385 (5th Cir.2008)

(quoting Ingraham v. United States, 808 F.2d 1075, 1079 (5th Cir.1987)).

       Under Rule 8(c), a defendant is obligated to plead affirmatively any of the eighteen listed

defenses he or she wishes to assert.3 However, Rule 8(c) also includes a general “catch-all”




       3
        Under Federal Rule of Civil Procedure 8 (c):
               In responding to a pleading, a party must affirmatively state any avoidance or
               affirmative defense, including:
               •        accord and satisfaction;
               •        arbitration and award;
               •        assumption of risk;
               •        contributory negligence;
               •        duress;
               •        estoppel;
               •        failure of consideration;
               •        fraud;
               •        illegality;
               •        injury by fellow servant;
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provision, requiring a defendant to enumerate any “matter constituting an avoidance or affirmative

defense.” Fed.R.Civ.P. 8(c). Generally speaking, the rule’s reference to “an avoidance or

affirmative defense” encompasses two types of defensive allegations: those that admit the

allegations in the complaint but suggest some other reason why there is no right to recovery, and

those that concern allegations outside of the plaintiff’s prima facie case that the defendant therefore

cannot raise by a simple denial in the answer.” 5C Wright & Miller, § 1271. As a result, a pleader,

in order to avoid waiving an otherwise valid defense, often will decide to set up affirmatively matter

that technically may not be an affirmative defense but nonetheless might fall within the residuary

clause of Rule 8(c). Normally, the pleader will not be penalized for exercising caution in this

fashion even when affirmative pleading proves to be unnecessary. Id.

        Motions to strike a defense “are generally disfavored,” although a Rule 12(f) motion to

dismiss a defense may be granted when the defense is “insufficient as a matter of law.” Kaiser

Aluminum & Chemical Sales, Inc. v. Avondale Shipyards, Inc., 677 F .2d 1045, 1057 (5th Cir. 1982).

“What constitutes an insufficient defense depends upon the nature of the claim for relief and the

defense in question.” EEOC v. First National Bank of Jackson, 614 F.2d 1004, 1008 (5th Cir. 1980).

“Courts should be cautious in granting motions to strike affirmative defenses, particularly when a

defendant may not have had ample opportunity to prove his allegations that the defense might



                 •        laches;
                 •        license;
                 •        payment;
                 •        release;
                 •        res judicata;
                 •        statute of frauds;
                 •        statute of limitations; and
                 •        waiver.

Fed.R.Civ.P. 8(c). The Court notes that prior to December 1, 2010, bankruptcy was also an enumerated affirmative
defense. However, on December 1, 2010, bankruptcy was removed as an affirmative defense
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succeed on the merits.” Owens v. UNUM Life Ins. Co., 285 F.Supp.2d 778 (E.D. Tex. 2003).

         The United States Supreme Court recently clarified that to meet the requirements of Rule 8,

in order to provide proper notice of the grounds upon which a claim rests, a claim requires enough

facts to state a claim to relief that is “plausible on its face.” Bell Atlantic v. Twombly, 550 U.S. 544,

570, 127 S.Ct. 1955, 167 L.Ed.2d 929 (2007). The Fifth Circuit held in Woodfield v. Bowman that

an affirmative defense is subject to the same pleading requirements as the Complaint. Woodfield

v. Bowman, 193 F.3d 354, 362 (5th Cir.1999). Despite the relaxed pleading standards of Rule 8, a

defendant must plead an affirmative defense with enough specificity or factual particularity to give

the plaintiff fair notice of the defense that is being advanced. Synergy Mngmt, LLC v. Lego Juris,

A/S, 2008 WL 4758634 (E.D. La. Oct. 24, 2008). In some cases, merely pleading the name of the

affirmative defense may be sufficient. Woodfield, 193 F.3d at 362. The “fair notice” pleading

requirement is met if the defendant sufficiently articulated the defense so that the plaintiff was not

a victim of unfair surprise. Id. The inquiry into whether the plaintiff was unfairly surprised is a fact-

specific analysis. “Boilerplate” defensive pleading is not sufficient under Rule 8(c). Id.

         A.       Affirmative Defense Number 24

         Defendant raised the affirmative defense that the Plaintiff failed to mitigate her damages.5

Defendant contends that the Plaintiff’s motion to strike this defense is premature, because as

discovery has not yet commenced, the Defendant has not had an opportunity to discover any

supporting facts for this defense. (R. Doc. 12, p. 3.) Defendant also contends that if the defense is

not raised, it is waived.


         4
          The Court notes that the First Affirmative Defense was not contested by the Plaintiff.
         5
          Defendants Second Defense states, “Ochsner denies it is liable to Plaintiff and further denies that Plaintiff
has sustained any damages. In the alternative, Plaintiff has failed to mitigate her alleged damages as required by
law.” (R. Doc. 6, p. 2.)
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        At the hearing, the Plaintiff contended that because the Defendant failed to utilize any facts

to support the affirmative defense, the defense should be stricken. Furthermore, the Plaintiff

contended that because failure to mitigate is not an affirmative defense under the Federal Rules, the

Defendant can later amend their Answer to include the defense once facts have been gathered to

support it.

        Although mitigation of damages is not expressly listed among Rule 8(c)’s affirmative

defenses, the Fifth Circuit has indicated that it falls into Rule 8(c)’s catch-all category of “any other

matter constituting an avoidance or affirmative defense.” Ingraham v. United States, 808 F.2d 1075,

1078 (5th Cir. 1987). In Knox v. City of Monroe, No. 07-606, 2009 WL 936965, at * 11 (W.D. La.

Apr. 16, 2009)(James, J.), the Court discussed mitigation of damages in the employment

discrimination context. In Knox, the Court stated that, in an employment discrimination case, a

plaintiff as a duty to mitigate their damages. The Court further commented that mitigation of

damages is an affirmative defense.

        Although mitigation of damages is an affirmative defense, the Court finds that the defense

was not properly pled by the Defendant. By merely stating that Plaintiff failed to mitigate,

Defendant has done nothing more than recite a legal conclusion. Such a boilerplate defensive

pleading is insufficient under Rule 12.

        In an employment discrimination case, a plaintiff has a duty to mitigate her damages by using

reasonable diligence to obtain substantially equivalent employment. Sellers v. Delgado College, 702

F.2d 1189, 1193 (5th Cir. 1990.) Here, the Defendant’s pleading does not put the Plaintiff on notice

that Ochsner intends to assert that the Plaintiff did not use reasonable diligence in acquiring

equivalent employment. In fact, it is unclear if this is even the basis for the mitigation of damages

defense. Ochsner provides the Plaintiff with little more than a conclusory allegation that she failed
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to mitigate. Such generalized, unspecific pleading does not comply with the Federal Rules, and

therefore should be stricken.

         B.       Affirmative Defense Number 3

         Defendant also raised the affirmative defense that Ochsner “made a good faith effort to

prevent retaliation, discrimination, and harassment in the workplace and to comply with the law.”6

Ochsner contends that this clearly puts the Plaintiff on notice that they seek to raise the Kolstad

defense, which refers to the Supreme Court’s decision in Kolstad v. Am. Dental Ass’n, 527 U.S. 526,

545 (1999). In Kolstad, the Supreme Court found that an employer may avoid punitive damages if

it has made a good-faith effort to prevent discrimination in the workplace. Id. at 545-546.

         The Court notes that, in neither the Complaint nor the charge with the EEOC, did the

Plaintiff raise either a claim of retaliation or harassment. In fact, in the Charge with the EEOC, the

Plaintiff only checked the box for “discrimination.” Therefore, there is no foundational basis for

the defense as it relates to retaliation or harassment. Furthermore, according to Shinn’s Complaint,

she attempted to regain employment with the Defendant and her efforts were refused. Therefore,

she was not employed by the Defendant during the time in which she made her complaints to the

EEOC so that it would have been possible for Defendant to retaliate against or harass her.

Consequently, Defendant’s inclusion of retaliation and harassment in their affirmative defense is

impertinent and immaterial. As a result, it is recommended that the Plaintiff’s motion to strike

Affirmative Defense Number 3 be partially granted, to the extent Defendant seeks to assert that they

made a good faith effort to prevent retaliation and harassment. It is further recommended that the

Defendant be ordered to modify this affirmative defense by limiting it to the Plaintiff’s claim for


         6
          Defendant’s Third Defense states, “In the further alternative, Ochsner denies it is liable to Plaintiff for
punitive damages; Ochsner made a good faith effort to prevent retaliation, discrimination and harassment in the
workplace and to comply with the law.” (R. Doc. 6, p. 2.)
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discrimination.

         C.       Affirmative Defense Number 4

         Defendant raised as an affirmative defense that the Plaintiff’s claims are subject to

limitations and caps.7 Defendant asserts that because this is an affirmative defense, it must be pled

in the answer, and therefore should not be stricken. (R. Doc. 12, p. 4.) In support, the Defendant

cites to Simon v. United States, 891- F2d 1154 (5th Cir. 1990). In Simon, the Court considered

whether the Louisiana limitation on medical malpractice damages was an affirmative defense within

the meaning of Rule 8(c). The Court concluded that the limitation was an affirmative defense

because it was an “avoidance” within the meaning of the Rule. Id.

         At the hearing, the Plaintiff contended that this affirmative defense did not properly put her

on notice as to which caps or limitations the Defendant was referring to. Further, the Plaintiff

contended that the failure to plead this defense did not result in a waiver of the defense. At the

hearing, the Defendant clarified that the affirmative defense relates to statutory caps.

         In Paris v. Dallas Airmotive, No. Civ.A.3:97CV0208-L, 2001 WL 881278 at * 5 (N.D. Tex.

July 30, 2001)(Lindsay, J.), an employment discrimination case, the Court considered whether the

Defendant’s failure to plead or raise the statutory cap until after the verdict constituted a waiver of

the defense. The Court found that the statutory caps defense was something that the plaintiff would

anticipate in the event of an adverse judgment. The Court further opined that, when a statutory

maximum is plainly set forth, there is no reason why it should be pleaded as an affirmative defense.

The Court further opined that, if the amount awarded exceeded the statutory maximum, “the

appropriate step for the court to take is to adjust the amount to conform to the statute.” The Court



         7
         Defendant’s Fourth Defense states, “Plaintiff’s claim for damages is subject to all applicable limitations
and caps on the recovery of such damages.” (R. Doc. 6, p. 2.)
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found that because no additional evidence or facts would have to be established through discovery

or otherwise, the plaintiff could not show unfair surprise or otherwise show that she suffers any

prejudice if the Defendant failed to plead it. Id. Therefore, statutory caps was not an affirmative

defense.

         In contrast, in Simon, cited by the Defendant, the court found that statutory caps was an

affirmative defense. Simon, however, was a diversity case which looked to Louisiana malpractice

law to determine if caps were an applicable affirmative defense.

         Here, unlike Simon, jurisdiction is based on Federal Question. Therefore, the Court finds

that, like in Paris, the defense of caps or limitations is not an affirmative defense which must be

pleaded at this time. As a result, the Court recommends that the affirmative defense should be

stricken.

         D.       Affirmative Defense Number 5

         Defendant also raised the affirmative defense that any claims not made the subject of a

“charge” are time-barred.8 Defendant claims that failure to raise this affirmative defense results in

waiver. Furthermore, the Defendant claims that they can only find out through discovery whether

or not the Plaintiff’s claims are time barred. (R. Doc. 12, p. 5.) Therefore, the Defendant claims that

this defense should not be stricken. Id.

         Defendant’s assertion that the claims are time barred are clearly an enumerate defense listed

under Rule 8(c). See Fed.R.Civ.P. 8(c)(enumeration statute of limitations as an affirmative defense).

However, merely claiming generally that a time bar applies to the instant litigation is insufficient

to put the Plaintiff on notice. In order to properly determine this affirmative defense, the Defendant


         8
          Defendant’s Fifth Defense states, “Any claims of retaliation or discrimination not made the subject of a
charge timely filed against Defendants with the appropriate federal and/or state agency are time barred.” (R. Doc. 6,
p. 2.)
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must compare the Complaint and the Charge to determine what, if any, claims are included in the

Complaint which are not included in the Charge with the EEOC. The Defendant must then

specifically plead which claims asserted by the Plaintiff are subject to the affirmative defense.

       Here, however, the Defendant has not indicated which claims, if any, asserted by the Plaintiff

are time barred because they exceed the scope of the Charge with the EEOC. Further, Defendant’s

argument that additional discovery is necessary in order to determine if this affirmative defense is

applicable, and therefore the motion to strike is premature, is without merit.

       The affirmative defense relates to whether or not the Plaintiff has asserted any claims which

were not also asserted in the charge with the EEOC. In order to discover this information, the

Defendant must look at the Complaint and the charge to see if they reflect the same charges. Both

the Complaint, and the Charge with the EEOC, are in the record and were accessible to the

Defendant at the time they filed their answer. Therefore, the Defendant had the opportunity and the

means to plead this defense with some degree of specificity, but chose to instead make a general

allegation.

       Furthermore, in the Court’s review of the Complaint, there is no indication that the Plaintiff

pled any claims that were not included in the Charge. Therefore, Defendant’s affirmative defense

lacks a factual basis. Because the Defendant has not provided any factual basis for this defense, the

Court recommends that the defense be stricken.

       E.      Affirmative Defense Number 6

       Fifth, the Defendant addresses their affirmative defense that the Plaintiff’s claims are barred

where they exceed the scope of the charges filed with the Louisiana Commission on Human Rights




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and the EEOC.9 In support of this affirmative defense, Defendant claims that in Jackson v.

Methodist Medical Center of ILL, 2007 WL 128001, at * 1, (C.D. Ill. Jan. 11, 2007), the Court found

that the defense was properly pled because the parties had yet to conduct discovery, and there was

nothing contained in the affirmative defense that was “uniquely within the purview of the

Defendant.” (R. Doc. 12, p. 5.) Defendant contends that the affirmative defense properly put the

Plaintiff on notice, and that the Defendant may later be able to prove facts which support the

defense. (R. Doc. 12, p, 5.)

         The Court disagrees with the court in Jackson. Under the Federal Rules, the Defendant is

held to the same pleading standard as a Plaintiff. Under the Federal Rules, a party to a federal

proceeding is held tot he requirement that the allegations in a pleading, after reasonable inquiry

under the circumstances, have evidentiary support. See Fed.R.Civ.P. 1. As discussed in Section D,

above, the affirmative defense does not necessitate discovery in order to provide a factual basis. The

documents which would provide the factual basis for the assertion, namely the Complaint and the

Charges with the Louisiana Commission on Human Rights and/or the EEOC were within the

knowledge of the Defendant, so that if any facts supported the defense, those facts could have been

pled at the time the Answer was filed. The Defendant failed to make a reasonable inquiry, and as

a result pled an unspecific affirmative defense. Therefore, the Court recommends that the Plaintiff’s

motion to strike Affirmative Defense Number 6 be granted.




         9
         Defendant’s Sixth Defense states, “Plaintiff’s claims are barred, in whole or in part, to the extent they
exceed the scope of or are inconsistent with the charge of discrimination Plaintiff filed with the Louisiana
Commission on Human Rights and/or Equal Employment Opportunity Commission.” (R. Doc. 6, p. 2.)
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         F.       Affirmative Defense Number 7

         The Defendant also raised the affirmative defense of the “after-acquired evidence doctrine.”10

Defendant contends that because this is a recognizable defense, they should be able to plead it. In

support, the Defendant cites to two Northern District of Illinois cases and contends that the Plaintiff

has not provided any reason why this defense should be stricken.

         In Johnson v. City of Elgin, 2001 WL 199506, at *2 (N.D. Ill. Feb. 28, 2001), cited by the

Defendant, the Court declined to strike the after acquired evidence doctrine as an affirmative

defense. In Johnson, however, the Court found that the Defendant’s defense should not be stricken

because they had properly alleged the existence of after-acquired evidence of employee-wrongdoing,

and that this wrongdoing would have led to the employee’s dismissal. Specifically, the Defendants,

in their Answer, stated that the Plaintiff had engaged in wrongdoing when he failed to notify his

Department that a witness had lied.

         In Woolner v. Flair Communications Agency, Inc., 2004 WL 161505, * 3 (N.D. Ill. Jan. 22,

2004), also cited by the Defendant, the Court found that the after acquired evidence doctrine was

an affirmative defense. However, in Woolner, the Defendants pled facts which supported the

defense. In fact, the Court in Woolner specifically stated that, because the Plaintiff had not

contested the validity of the facts surrounding the affirmative defense, the Court would, for purposes

of the motion, construe those facts as true. Id. at *1, n.1.

         Other courts have found that the after acquired evidence doctrine is not an affirmative

defense contemplated by Rule 8(c). In Valdez v. Smith & Deshields, No. 08-80209, 2008 WL

4861547, at * 2 (S.D. Fla. Nov. 10, 2008), the Court found that the after acquired evidence doctrine


         10
           Defendant’s Seventh Defense states, “To the extent Ochsner discovers, during the course of this action,
that Plaintiff engaged in any conduct that would warrant discharge, aside from the reasons for which she was
terminated, Plaintiff’s right to recover damages beyond the date of such discovery will be cut off.’ (R. Doc. 6 p. 2.)
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was“ a rule of evidence which may be asserted at the appropriate time in the proceeding.” The Court

opined that it was not an appropriate affirmative defense, because it would not defeat the plaintiff’s

claims if applied, and therefore, was “insufficient as a matter of law as a legal defense to this

action.” Id.

        The Defendant has not pointed to any Fifth Circuit case law or any case law from this

District addressing whether or not the after acquired evidence doctrine is a permissible defense.

However, the Court need not decide whether the after acquired evidence doctrine is a permissible

defense under Rule 8(c). Assuming arguendo that the after acquired evidence doctrine is an

affirmative defense in this Court, the Court finds that the defense has not been sufficiently pled.

        Here, unlike the cases cited by the Defendant, Ochsner has merely stated that they reserve

their right to assert the after acquired evidence doctrine. Unlike the cases cited by the Defendant,

Ochsner has not pled anything specifically related to the after acquired evidence and has merely

reserved their right to raise the allegation at a later time. By its own terms, there is no support for

the allegation. As is the case with a Complaint, allegations without evidentiary support do not

suffice. Therefore, the Court recommends that the Plaintiff’s motion to strike affirmative defense

number 7 be granted.

        G.       Affirmative Defense Number 8

        Defendants raised the affirmative defense that the Plaintiff is not a qualified individual under

the Americans with Disabilities Act.11 (R. Doc. 12, p. 6.) The Defendant claims that this is an

affirmative defense that relates to factual matters. Defendant contends that while the Plaintiff may



        11
           Defendant’s Eight Affirmative Defense states, “At all relevant times, Plaintiff was not a qualified
individual with a disability within the meaning of the Americans with Disabilities act (“ADA”) and LA. R.S. 23:323
and did not request a reasonable accommodation in accordance with the ADA and LA. R.S. 23:323.” (R. Doc. 6, p.
3.)
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dispute the factual matters regarding this affirmative defense, a disputed question of fact may not

be decided upon a motion to strike. Further, Defendant contends that the Plaintiff’s motion to strike

this affirmative defense is premature because the defense necessarily requires facts to support it

which have to be explored through the discovery process. (R. Doc. 12, p. 6.) The Plaintiff contends

that, if the Defendant has reason to believe that the Plaintiff is not a qualified individual, then the

factual basis for that contention should be provided.

        Under the Americans with Disabilities Act, as part of a plaintiff’s prima facie case, he or she

must prove that they are a qualified person with a disability. However, this is subject to certain

affirmative defenses. For example, as an affirmative defense, a defendant may assert that a plaintiff

is not a qualified person with a disability because he or she poses a “direct threat” to the health and

safety to themselves and others.

        Here, the Defendant’s allegation that the Plaintiff is not a person with a disability is unclear.

The allegation does little to put the Plaintiff on notice that they are asserting, for example, that the

Plaintiff’s injuries did not rise to the level of a disability or that she is a “direct threat” to the health

and safety of others and therefore does not qualify as an individual with a disability. The defense,

as plead, is too broad to give notice. The Defendant fails to set forth any evidentiary or factual

support for the conclusory asserted proposed defense. See Fed.R.Civ.P. 11. As such, the Court finds

that the notice pleading standard has not been met, and the affirmative defense should be stricken.

        H.      Affirmative Defense 9

        Defendants also raise a “same decision” defense, in which Ochsner contends that they would

have taken the same challenged action in the absence of any impermissible motivating factor.

Ochsner asserts that the “same decision defense” is a substantive legal theory that must be plead,



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and therefore, should not be stricken.12 Further, the Defendant contends that this affirmative defense

is not futile, and therefore, should remain in the Answer. (R. Doc. 12, p. 7.)

        The Court finds that this affirmative defense properly puts the Plaintiffs on notice as to the

Defendants’ contention that, discrimination or no discrimination, the Plaintiff was not an individual

that the Defendant’s wanted to continue to employ, and they would have fired her anyway. It is

clear that the Defendant intends to argue that the Plaintiff was not an adequate employee. As a

result, the Court recommends that the Plaintiff’s motion to strike affirmative Defense 9 be denied.

        I.       Affirmative Defense 10

        Although not addressed by the parties in their submissions to the Court, at the hearing the

Court addressed the tenth affirmative defense, which is a general “catch all” denial of all

allegations.13 The Court recommends that the defense be stricken, as by its very terms, it cannot put

the Plaintiff on notice as to what defense is intended to be asserted. As a result, the Court

recommends that the defense be stricken.

IV.     Conclusion

        Accordingly,

        IT IS RECOMMENDED that Kerstin Shinn’s Motion to Strike Affirmative Defenses (R.

Doc. 10) be GRANTED IN PART and DENIED in part.

        •        IT IS RECOMMENDED that the motion to strike Defenses 2, 4, 5, 6, 7, 8, and 10
                 be GRANTED.



          12
             Defendant’s Ninth Affirmative Defense states, “Notwithstanding Ochsner’s general denials and previous
affirmative defenses, and without admitting Plaintiff’s averments, to the extent that Plaintiff establishes that any
prohibited criterion was a motivating factor for any employment decision challenged herein, which is denied, the in
the alternative Ochsner affirmatively states that it would have taken the same action in the absence of such
impermissible motivating factor.” (R. Doc. 6, p. 3.)
        13
           Defendant’s Tenth Affirmative Defense states, “Ochsner denies every allegation, whether express or
implied, that is not unequivocally and specifically admitted in the Answer.” (R. Doc. 6, p. 3.)
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       •         IT IS RECOMMENDED that the motion to strike Defense 9 be DENIED.

       IT IS FURTHER RECOMMENDED that the Defendant be ordered to modify defense 3

with sufficient facts to provide a factual basis for the defense no later than 11 days from the signing

of this Order.

                       New Orleans, Louisiana, this 21st day of December 2010




                                                           KAREN WELLS ROBY
                                                    UNITED STATES. MAGISTRATE JUDGE




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